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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVIS I ON

MARIA GALLAGHER, Individually,

                Plaintift~

vs.                                                     CASE NO.

WILLIAMSBURG HOSPITALITY GROUP,
LLC, a Kentucky Limited Liability Company,

                Defendant.

- - - - -- - - - -- - - - - -I
                                          COMPLAINT
                                   (Injunctive Relief Requested)

         COMES NOW Plaintiff, MARIA GALLAGHER, on her behalf and on behalf of all other

mobility impaired individuals similarly situated ("Plaintiff'), and hereby sues the Defendant,

WILLIAMSBURG HOSPITALITY GROUP, LLC, a Kentucky Limited Liability Company,

("Defendant"), for Injunctive Relief, and attorney's fees, litigation expenses, and costs pursuant

to the Americans with Disabilities Act, 42 U.S.C. § 12181 e t ~ ("ADA"),

                                     COUNT I
                     VIOLATION OF TITLE III OF THE AMERICANS
                     WITH DISABILITIES ACT 42 U.S.C. § 12181, et seq.

                                          I. PARTIES

         1.     Plaintiff, MARIA GALLAGHER, is an individual residing in West Palm Beach,

FL, in the County of Palm Beach.

         2.     Defendant' s property, Super 8 Williamsburg 1s located at JO W. Hwy. 92,

Williamsburg, KY 40769, in the County of Whitley.

                             II.   JURISDICTION AND VENUE

         3.    This Court has original jurisdiction in this action. This Court has been given
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original jurisdiction over actions ansmg from the Defendant' s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. See also 28 U.S.C. § 2201 and

§ 2202.

          4.     Venue is properly in the United States District Court for the Eastern District of

Kentucky because venue lies in the judicial district of the property situs.          The Defendant's

property is located in the Eastern District of Kentucky and the Defendant conducts business

within this judicial district.

                                 Ill. STATUTORY BACKGROUND

          5.     On July 26, 1990, Congress enacted the Americans with Disabilities Act of 1990,

establishing important civil rights for individuals with disabilities, including the right to full and

equal enjoyment of goods, services, facilities, privileges, and access to places of public

accommodation.

          6.     Among other things, Congress made findings in 42 U.S.C. § 1210 l (a)(l)-(3), (5)

and (9) that included:

                 a.      Some 43,000,000 Americans have one or more physical or mental

          disabilities, and this number is increasing as the population as a whole is growing older;

                 b.      Historically, society has tended to isolate and segregate individuals with

          disabilities, and, despite some improvements, such forms of discrimination against

          individuals with disabilities continue to be a serious and pervasive social problem;

                 c.      Discrimination against individuals with disabilities persists in such critical

          areas as employment, housing, public accommodations, education, transportation,

          communication, recreation, institutionalization, health services, voting and access to

          public services;



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               d.      Individuals with disabilities continually encounter various forms of

       discrimination, including outright intentional exclusion, the discriminatory effects of

       architectural, transportation, and communication barriers, overprotective rules and

       policies, failure to make modifications to existing facilities and practices, exclusionary

       qualification standards and criteria, segregation, and regulation to lesser services,

       programs, activities, benefits, jobs or other opportunities; and

               e.     The continuing existence of unfair and unnecessary discrimination and

       prejudice denies people with disabilities the opportunity to compete on an equal basis and

       to pursue those opportunities for which our free society is justifiably famous, and costs

       the United States billions of dollars in unnecessary expenses resulting from dependency

       and non-productivity.

       7.      Congress also explicitly stated in 42 U.S.C. § 1210l(b)(1)(2) and (4) that the

purpose of the Americans with Disabilities Act was to:

              a.       Provide a clear and comprehensive national mandate for the elimination of

       discrimination against individuals with disabilities;

               b.     Provide clear, strong, consistent, enforceable standards addressing

       discrimination against individuals with disabi lities; and,

              c.      Invoke the sweep of congressional authority, including the power to

       enforce the fourteenth amendment and to regulate commerce, in order to address the

       major areas of discrimination faced day-to-day by people with disabilities.

       8.      Fmthermore, pursuant to 42 U.S.C. §              12182 and 28 CFR 36.201(a),

Congressional intent was for no place of puhlic accommodation to discriminate against an

individual, on the basis of such individual's disability, with regard to the full and equal



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enjoyment of the goods, services, facilities, privileges, advantages, or accommodations at that

place of public accommodation.

       9.      Congress provided commercial businesses at least 18 months from enactment

make their facilities compliant to the regulations in the Americans with Disabilities Act. The

effective date of Title III of the ADA was January 26, 1992, or January 26, 1993, if the

Defendant has ten (10) or fewer employees and gross receipts of $500,000 or less. 42 lJ.S.C.

§ 12181 and 28 CFR 36.508(a).

                             IV. THE PARTIES AND STANDING

        10.    Plaintiff, MARIA GALLAGHER is a Florida resident, is sui juris, and qualifies as

an individual with disabilities as defined by the ADA. Because of the condition of her hip,

chronic right trochanteric bursitis, she gets around when going short distances, by the use of a

walker or a cane; while going longer distances, she gets around through the use of a wheelchair.

        11.    Maria Gallagher travels to Louisville, KY approximately twice a year to visit her

daughter and two granddaughters and her grandson, who reside there.

       12.     Mrs. Gallagher stayed at the Super 8 Williamsburg on January 6 - 7, 2021 , and

plans to return to the subject property in the near future, to avail herself of the goods and services

offered to the public at the property, when the hotel is made accessible for her use.

       13.     The Defendant has discriminated against the individual Plaintiff by denying her

access to, and full and equal enjoyment of the goods, services, facilities, privileges, advantages

and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

       14.     Defendant owns, or leases, (or leases to), or operates a place of public

accommodation as defined by the ADA and the regulations implementing the ADA, 28

CFR 36.201 (a) and 36.104. Defendant is responsible for complying with the obligations of the



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ADA. The place of public accommodation that the Defendant owns, operates, leases or leases to

is known as Super 8 Williamsburg, and is located at 30 W. Hwy. 92, Williamsburg, KY 40769.

       15.        Maria Gallagher has a realistic, credible, existing and continuing threat of

discrimination from the Defendant non-compliance with the ADA with respect to this property

as described but not nec.e.ssarily limited to the allegations in paragraph 17 of this complaint.

Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant. MARIA GALLAGHER desires to

visit Super 8 Williamsburg, not only to avail herself of the goods and services available at the

property but to assure herself that the property are in compliance with the ADA so that she and

others similarly situated will have full and equal enjoyment of the property without fear of

discrimination.

       16.        The Defendant has discriminated against the individual Plaintiff by denying her

access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq., as outlined

in paragraph 17 herein.

                                     THE INSTANT CLAIM

        17.       The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993 if Defendant has 10 or fewer employees and gross receipts of

$500,000 or less). A preliminary inspection of Super 8 Williamsburg has shown that violations

exist. These violations personally encountered or observed by Mrs. Gallagher include, but are

not limited to:




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         Accessible Route

         A.    The accessihle route does not connect from the accessible parking spaces,
               the accessible building, and the accessible elements within the same site,
               in violation of Section 206.2 .2 in the 2010 ADA Standards, whose
               resolution is readily achievable.

         Parking

         A.    There is no marked access aisle at the passenger loading zone making it
               difficult for the Plaintiff to utilize, in violation of Section 503.3.3 of the
               20 IO ADA Standards, whose resolution is readily achievable.

         B.    The accessible parking space is missing a compliant parking signagc
               making it difficult for the Plaintiff to identify the parking space, in
               violation of Section 502.6 in the 2010 ADA Standards, whose resolution is
               readily achievable.

         C.    The ramp is projecting into the parking access aisle and vehicular traffic
               lanes making it difficult for the Plaintiff to utilize, in violation of Section
               406.5 in the 20 l O ADA Standards, whose resolution is readily achievable.

         Entrances

         A.    The floor mat at the main lobby entrance was not secured to the floor as
               required and has a vertical change in level greater than 1/4 inch making it
               difficult for the Plaintiff to traverse, in violation of Sections 302.2 and
               303 .2 in the 20 l O ADA Standards, whose resolution is readily achievable.

         Common Area

         B.    The service counter exceeds the maximum height of 36 inches as required
               making it difficult for the Plaintiff to utilize, in violation of Section 904.4
               in the 2010 ADA Standards, whose resolution is readily achievable.

         C.     The tables in the dining area do not provide knee and toe clearance as
                required making it difficult for the Plaintiff to utilize, in violation of
                Sections 306.2 and 306.3 in the 2010 ADA Standards, whose resolution is
                readily achievable.




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         Public Unisex Restroom

         A.    The pull door from inside the restroom does not provide 18 inches of latch
               side clearance as required making it difficult for the Plaintiff to operate, in
               violation of Section 404.2.4 in the 20 IO ADA Standards, whose resolution
               is readily achievable.

         B.    The Plaintiff had to use caution when utilizing the lavatory due to the
               drain pipe and water lines being exposed, in violation of Section 606.5 in
               the 20 l O ADA Standards, whose resolution is readily achievable.

         C.    The toilet paper dispenser is not located 7 inches minimum and 9 inches
               maximum from the front rim of the toilet to the center of the dispenser as
               required making it difficult for the Plaintiff to utilize, in violation of
               Section 604. 7 in the 2010 ADA Standards, whose resolution is readily
               achievable

         D.    The side wall grab bar is not 42 inches long as and is not in the compliant
               location as required making it difficult for the Plaintiff to utilize, in
               violation of Section 604.5.1 in the 2010 ADA Standards, whose resolution
               is readily achievable.

         E.    The rear wall grab bar is missing making it difficult for the Plaintiff to
               utilize the toilet, in violation of Section 604.5.2 in the 20 10 ADA
               Standards, whose resolution is readily achievable.

         F.    The wood wall is obstructing the 60 inches of perpendicular clearance
               from the side wall around the water closet making it difficult for the
               Plaintiff to utilize, in violation of Section 604.3.1 in the 2010 ADA
               Standards, whose resolution is readily achievable.

         G.    The lavatory apron is obstructing the knee clearance making it difficult for
               the Plaintiff to use, in violation of Sections 306.3 and 606.2 in the 2010
               ADA Standards, whose resolution is readily achievable.

         Guest Room 109

         A.    The table in the. room does not provide knee and toe clearance as required
               making it difficult for the Plaintiff to use, in violation of Sections 306.2
               and 306.3 in the 2010 ADA Standards, whose resolution is readily
               achievable.


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        B.     The lock on the bathroom door hardware requires tight grasping, pinching
               and twisting of the wrist making it difficult for the Plaintiff to operate, in
               violation of Section 309.4 in the 2010 ADA Standards, whose resolution is
               readily achievable.

         C.    The rear wall grab bar is missing making it difficult for the Plaintiff to
               utilize the toilet, in violation of Section 604.5.2 in the 2010 ADA
               Standards, whose resolution is readily achie.vable.

         D.    The toilet paper dispenser is not located 7 inches minimum and 9 inches
               maximum from the front rim of the toilet to the center of the dispenser as
               required making it difficult for the Plaintiff to utilize, in violation of
               Section 604. 7 in the 2010 ADA Standards, whose resolution is readily
               achievable

         E.    The side wall grab bar does not extend 54 inches from the rear wall as
               required making it difficult for the Plaintiff to utilize, in violation of
               Section 604.5. l in the 20 IO ADA Standards, whose resolution is readily
                achievable.

         r.    The hair dryer is obstructed by the lavatory and has a high reach that
               exceeds the maximum height allowance of 48 inches making it difficult
               for the Plaintiff to utilize, in violation of Section 308.2.2 in the 2010 ADA
                Standards, whose resolution is readily achievable.

         G.     The lavatory apron is obstructing the knee clearance and the trash
                receptacle is obstructing the toe clearance and clear floor space under the
                lavatory making it difficult for the Plaintiff to use, in violation of Sections
                305.5, 306.2, 306.3, and 606.2 in the 2010 ADA Standards, whose
                resolution is readily achievable.

         H.     The Plaintiff had to use caution when utilizing the lavatory due to the
                drain pipe and water lines being exposed, in violation of Section 606.5 in
                the 2010 ADA Standards, whose resolution is readily achievable.

          I.    The controls in the hathtub are not in the compliant location as required
                making it difficult for the Plaintiff to utilize, in violation of Section 607.5
                in the 2010 ADA Standards, whose resolution is readily achievable.




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               J.     The grab bars on the back wall, control end wall, and head end wall are
                      not in the compliant location as required making it difficult for the
                      Plaintiff to utilize, in violation of Sections 607.4.2 .1 , 607.4.2.2, and
                      607.4.2.3 in the 2010 ADA Standards, whose resolution is readily
                      achievable.

              K.      The Plaintiff had difficulty utilizing the tub due to the tub not providing a
                      seat capable of secure placement, in violation of Section 610.2 in the 2010
                      ADA Standards, whose resolution is readily achievable.

              L.      The toilet does not provide 60 inches of perpendicular clearance from the
                      side wall as required making it difficult for the Plaintiff to utilize, in
                      violation of Section 604.3.1 in the 2010 ADA Standards, whose resolution
                      is readily achievable.

             M.       The shower spray unit does not provide a hose that can be used both as a
                      fixed-position shower head and as a hand-held shower head and it shall
                      provide an on/off control with a non-positive shutoff as required making it
                      difficult for the Plaintiff to use, in violation of Section 607 .6 in the 20 I 0
                      ADA Standards, whose resolution is readily achievable.

              Lack of Compliant Disabled Rooms Properly Disbursed

              A       The subject hotel lacks the required number of compliant disabled rooms,
                      and the disabled rooms are not dispersed amongst the various classes of
                      guest rooms in violation of Section 224.5 of the 2010 ADAAG.

              Maintenance

               B.     The accessible features of the facility are not maintained, creating barriers
                      to access for the Plaintiff, as set forth herein, in violation of
                      28 CFR 36.211.

       18.    All of the foregoing violations are violations of the 1991 Americans with

Disabilities Act Guidelines (ADAAG), and the 2010 ADA Standards for Accessible Design, as

promulgated by the U.S. Department of Justice.

       19.    The discriminatory violations described in paragraph 17 are not an exclusive list

of the Defendant's ADA violations. Plaintiff requires further inspection of the Defendant's place



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of public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access.

       20.     The individual Plaintiff, and all other individuals similarly situated have been

denied access to, and have been denied the benefits of services, programs and activities of the

Defendant buildings and its facilities, and have otherwise been discriminated against and

damaged by the Defendant because of the Defendant's ADA violations, as set forth above. The

individual Plaintift: and all others similarly situated will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein. In

order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

Defendant's place of public accommodation in order to determine all of the areas of non-

compliance with the Americans with Disabilities Act.

       21.     Defendant has discriminated against the individual Plaintiff by denying her access

to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in violation of 42

U.S.C. § 12 I 81 et seq., and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to

afford all offered goods, services, facilities, privileges, advantages or accommodations to

individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.

        22.    Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of public



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accommodation that has existed prior to January 26, 1993, 28 CFR 36.304(a); in the alternative,

if there has been an alteration to Defendant's place of public accommodation since January 26,

1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered

portions of the facility are readily accessible to and useable by individuals with disabilities,

including individuals who use wheelchairs, 28 CFR 36.402; anJ finally if the Defendant's

facility is one which was designed and constructed for first occupancy subsequent to January 26,

1993, as defined in 28 CfR 36.401, then the Defendant's facility must be readily accessible to

and useable by individuals with disabilities as defined by the ADA.

       23.     Appendix A to Pa11 36 - Standards for Accessible Design (28 CFR Part 36,

App. A), sets out guidelines for accessibility for buildings and facilities. These guidelines arc to

be applied during design, construction and alteration of such buildings and facilities to the extent

required by regulations issued by Federal Agencies, including the Department of Justice, under

the ADA.

       24.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and

28 CFR 36.505.

       25.     Notice to Defendant is not required as a result of the Defendant's failure to cure

the violations by January 26, 1992 (or January 26, 1993 if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less).      All other conditions precedent have been met by

Plaintiff or waived by the Defendant.

       26.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disscrved by a permanent injunction.



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       27.     Pursuant to 42 U.S.C. § 12188, this Court is provided authority to grant Plaintiff

Injunctive Relief including an order to alter Super 8 William sburg to make those facilities readily

accessible and useable to the Plaintiff and all other persons with disabilities as de.fined by the

ADA; or by closing the facility until such time as the Defendant cures its violations of the ADA.

       WHEREFORE, Plaintiff respectfully requests:

               a.      The Court issue a Declaratory Judgment that determines that the

               Defendant at the commencement of the subject lawsuit is in violation of Title Ill

               of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq.

               b.      Injunctive relief against the Defendant including an order to make all

               readily achievable alterations to the facil ity; or to make such facility readily

               accessible to and usable by individuals with disabilities to the extent required by

               the ADA; and to require the Defendant to make reasonable modifications in

               policies, practices or procedw·es, when such modifications arc necessary to afford

               all offered goods, services, facilities, privileges, advantages or accommodations to

               individuals with disabilities; and by failing to take such stops that may be

               necessary to ensure that no individual with a disabi lity is excluded, denied

               services. segregated or otherwise treated differently than other individuals

               because of the absence of auxiliary aids and services.

               c.      An award of attorney's fees, costs and litigation expenses pursuant to

               42 U.S.C. § I 2205.

               d.      Such other relief as the Court deems just and proper, and/or is allowable

               under Title III of the Americans with Disabilities Act.




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          e.     The Order shall further require the Defendant to maintain the required




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